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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          EDCV 21-1594-GW-SPx                                           Date      May 31, 2022
 Title             Selena Maldonado v. DSV Solutions, LLC, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                IN CHAMBERS - ORDER TO SHOW CAUSE RE SETTLEMENT



On May 26, 2022, Plaintiff Selena Maldonado filed a Notice of Settlement. The Court sets an order to
show cause re settlement hearing for June 30, 2022 at 8:30 a.m. The hearing will be vacated provided a
stipulation to dismiss is filed by noon on June 29, 2022. All previously set deadlines and hearing dates
are vacated and taken off-calendar.




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                                                               Initials of Preparer   JG
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